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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION,
 UNITED STATES OF AMERICA,

 v.           CASE NO. 8:14-CR-64-T-17TGW

 CARLOS VELAZQUEZ-ROMAN

                                     /



                                           ORDER


        Dkt. 529      Motion to Travel
        Dkt. 532      Order Directing Defendant to File Supplement to Defendant’s
                      Motion
        Dkt. 533      Response to Order 532
        Dkt. 534      Opposition to Defendant’s Motion to Travel

        Defendant Carlos Velazquez-Roman filed a Response to the Court’s Order
 which indicates that Defendant Velazquez-Roman is currently employed with Innovative
 Marine Structures, LLC, 7571 Sawyer Circle, Port Charlotte, FL, 33981, as a truck
 driver, and [Defendant’s] hours have been significantly reduced due to slow work
 coming in (Dkt. 533, p. 3). Defendant Velazquez-Roman’s Response further indicates
 that Defendant has been approved for hire on October 15, 2016 as an owner operator
 by Fort Myers Trucking, Inc., P.O. Box 150576, Cape Coral, FL, 33909-0576. (Dkt.
 533, p. 4). Defendant Velazquez-Roman states that his duties at Fort Myers Trucking,
 Inc., 407 SW Pine Island Road, Cape Coral, FL, 33991, will be to drive a semi truck
 with a reefer trailer transporting produce to different states. (Dkt. 533, p. 2).
 Defendant Velazquez-Roman has provided a phone number for Manny J. Criollo and
 Patricia Criollo, Managers of Fort Myers Trucking, Inc.: 239-458-7424, ex. 204, ex. 206;
 a toll free phone number: 1-800-249-4860; and a fax number: 239-458-7983. (Dkt.
 533, pp. 2, 4). Defendant Velazquez-Roman has provided an email address for Patricia
 Criollo, Manager, Fort Myers Trucking, Inc.: patricia@fortmverstruckina.com.
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          The Government objects to Defendant Velazquez-Roman’s Motion to Travel due
 to the nature of Defendant’s underlying offense, as well as the lack of detail in
 Defendant’s Supplement.


          In the Superseding Indictment, Defendant Velazquez-Roman was charged with a
 conspiracy to bring over 100 aliens into the United States, in violation of 8 U.S.C. Sec.
 1324(a)(1)(A)(i)., among other charges. (Dkt. 119). Defendant Velazquez-Roman
 entered a plea of guilty pursuant to to a plea agreement to Counts One, Three, Nine
 and Ten of the Superseding Indictment.


          The Government notes a discrepancy in the addresses provided by Defendant,
 and a lack of details as to when or how often Defendant will be traveling, or if and when
 Defendant will be required to check in with his employer concerning the status of his
 trips.


          The Court takes judicial notice of the records of the State of Florida, Division of
 Corporations, as to Fort Myers Trucking, Inc., the prospective employer, which indicates
 that the principal address is 407 SW Pine Island Road, Cape Coral, FL, 33991, and the
 mailing address is P.O. Box 150576, Cape Coral, FL, 33991. (Exh.1).


          After consideration, the Court directs Defendant Velazquez-Roman to provide
 additional details of the prospective employment with Fort Myers Trucking, Inc.,
 specifically when and how often Defendant Velazquez-Roman would be traveling, and
 whether Defendant will be required to check in with his employer concerning the status
 of Defendant’s trips. Defendant Velazquez-Roman shall file a response to this Order
 within seven days of the date of this Order. Accordingly, it is




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            ORDERED that Defendant Velazquez-Roman shall file a response to this Order
 which explains when and how often Defendant Velazquez-Roman would be traveling
 for Defendant’s employment with Fort Myers Trucking, Inc., and whether Defendant
 Velazquez-Roman will be required to check in with Defendant’s employer concerning
 the status of Defendant’s trips, within seven days of the date of this Order.


            DONE and ORDERED in Chambers in Tampa, Florida on thi                ay of
 October, 2016.




 Copies to:
 All parties and counsel of record

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